             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                          SOUTHERN DIVISION


UNITED STATES OF AMERICA,                ) No. 05-03124-01/06-CR-S-GAF
                                         )
                            Plaintiff,   )
                                         ) COUNT ONE:
                                         ) (All Defendants)
                                         ) 21 U.S.C. §§ 846 and 841(a)(1) and
                                         ) (b)(1)(B)(viii)
        v.                               ) NLT 5 years; NMT 40 years
                                         ) and/or $2 million fine
MICHAEL D. CAUDLE                        ) Supervised Release: NLT 4 years
[DOB: 08-10-72],                         )
DUSTIN L. GARGES                         ) COUNTS TWO, THREE AND FOUR:
[DOB: 08-01-76],                         ) (Defendant CAUDLE only)
MARSHA R. ERICKSON                       ) 21 U.S.C. § 841(a)(1) and (b)(1)(C)
[DOB: 11-24-63],                         ) NMT 20 years
BRANDI SUE CLARK                         ) and/or $1 million fine
a/k/a: Brandi German                     ) Supervised Release: NLT 3 years
[DOB: 06-18-79],                         )
DREW N. TURNER                           ) COUNTS FIVE AND SIX:
[DOB: 09-20-78],                         ) (Defendant GARGES only)
       and                               ) 21 U.S.C. § 841(a)(1) and (b)(1)(C)
JEREMIE S. PALAN                         ) NMT 20 years
[DOB: 10-10-77]                          ) and/or $1 million fine
                                         ) Supervised Release: NLT 3 years
                                         )
                                         ) COUNTS SEVEN, EIGHT,
                                         ) NINE, and TEN:
                                         ) (Defendant ERICKSON only)
                                         ) 21 U.S.C. § 841(a)(1) and (b)(1)(C)
                                         ) NMT 20 years
                                         ) and/or $1 million fine
                                         ) Supervised Release: NLT 3 years
                                         )
                                         ) COUNT ELEVEN:
                                         ) (Defendant CLARK only)
                                         ) 21 U.S.C. § 841(a)(1) and (b)(1)(C)
                                         ) NMT 20 years
                                         ) and/or $1 million fine
                                         ) Supervised Release: NLT 3 years
                                         )



       Case 6:05-cr-03124-MDH Document 1 Filed 09/22/05 Page 1 of 8
                                ) COUNT TWELVE:
                                ) (Defendants CLARK and PALAN only)
                                ) 21 U.S.C. § 841(a)(1) and (b)(1)(C)
                                ) and 18 U.S.C. § 2
                                ) NMT 20 years
                                ) and/or $1 million fine
                                ) Supervised Release: NLT 3 years
                                )
                                ) COUNT THIRTEEN:
                                ) (Defendant CLARK only)
                                ) 21 U.S.C. § 841(a)(1) and (b)(1)(C)
                                ) NMT 20 years
                                ) and/or $1 million fine
                                ) Supervised Release: NLT 3 years
                                )
                                ) COUNT FOURTEEN:
                                ) (Defendants CAUDLE and PALAN only)
                                ) 21 U.S.C. § 841(a)(1) and (b)(1)(C)
                                ) and 18 U.S.C. § 2
                                ) NMT 20 years
                                ) and/or $1 million fine
                                ) Supervised Release: NLT 3 years
                                )
                                ) COUNTS FIFTEEN, SIXTEEN and
                                ) SEVENTEEN:
                                ) (Defendant TURNER only)
                                ) 21 U.S.C. § 841(a)(1) and (b)(1)(C)
                                ) NMT 20 years
                                ) and/or $1 million fine
                                ) Supervised Release: NLT 3 years
                                )
                                ) COUNT EIGHTEEN:
                                ) (Defendant TURNER only)
                                ) 21 U.S.C. § 841(a)(1) and (b)(1)(B)
                                ) NLT 5 years, NMT 40 years
                                ) and/or $2 million fine
                                ) Supervised Release: NLT 4 years
                                )
                                ) COUNT NINETEEN:
                                ) (Defendant TURNER only)
                                ) 18 U.S.C. § 922(g)(3)
                                ) NMT 10 years
                                ) and/or $250,000 fine
                                ) Supervised Release: NMT 3 years
                                )



Case 6:05-cr-03124-MDH Document 1 Filed 09/22/05 Page 2 of 8
                                                      ) COUNT TWENTY:
                                                      ) (Defendants CAULDE and PALAN only)
                                                      ) 21 U.S.C. § 853
                                                      ) Criminal Forfeiture
                                                      )
                                                      ) $100 Mandatory Special Assessment
                                                      ) on All Counts


                                        INDICTMENT
       THE GRAND JURY CHARGES THAT:

                                           COUNT ONE

       Beginning on an unknown date, but commencing at least as early as January 2002, and

continuing to on or about August 1, 2005, in Greene County, in the Western District of Missouri,

and elsewhere, MICHAEL D. CAUDLE, DUSTIN L. GARGES, MARSHA R. ERICKSON,

BRANDI SUE CLARK (a/k/a, BRANDI GERMAN), DREW N. TURNER, and JEREMIE S.

PALAN, defendants, did knowingly and intentionally conspire and agree with each other and

with other persons known and unknown to the Grand Jury, to distribute in excess of 50 grams of

a mixture or substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance, the distribution of which is a felony in violation of Title 21, United States

Code, Sections 841(a)(1) and (b)(1)(B)(viii); all in violation of Title 21, United States Code,

Section 846.

                                          COUNT TWO

       On or about July 12, 2004, in Greene County, in the Western District of Missouri,

MICHAEL D. CAUDLE, defendant, did knowingly and intentionally distribute a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).




          Case 6:05-cr-03124-MDH Document 1 Filed 09/22/05 Page 3 of 8
                                        COUNT THREE

       On or about August 24, 2004, in Greene County, in the Western District of Missouri,

MICHAEL D. CAUDLE, defendant, did knowingly and intentionally distribute a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

                                         COUNT FOUR

       On or about August 26, 2004, in Greene County, in the Western District of Missouri,

MICHAEL D. CAUDLE, defendant, did knowingly and intentionally distribute a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

                                         COUNT FIVE

       On or about September 13, 2004, in Greene County, in the Western District of Missouri,

DUSTIN L. GARGES, defendant, did knowingly and intentionally distribute a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

                                          COUNT SIX

       On or about September 14, 2004, in Greene County, in the Western District of Missouri,

DUSTIN L. GARGES, defendant, did knowingly and intentionally distribute a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

                                        COUNT SEVEN

       On or about September 7, 2004, in Greene County, in the Western District of Missouri,

MARSHA R. ERICKSON, defendant, did knowingly and intentionally distribute a mixture or



          Case 6:05-cr-03124-MDH Document 1 Filed 09/22/05 Page 4 of 8
substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

                                        COUNT EIGHT

       On or about September 9, 2004, in Greene County, in the Western District of Missouri,

MARSHA R. ERICKSON, defendant, did knowingly and intentionally distribute a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

                                         COUNT NINE

       On or about September 16, 2004, in Greene County, in the Western District of Missouri,

MARSHA R. ERICKSON, defendant, did knowingly and intentionally distribute a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

                                          COUNT TEN

       On or about October 13, 2004, in Greene County, in the Western District of Missouri,

MARSHA R. ERICKSON, defendant, did knowingly and intentionally distribute a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

                                       COUNT ELEVEN

       On or about June 22, 2005, in Greene County, in the Western District of Missouri,

BRANDI SUE CLARK (a/k/a, Brandi German), defendant, did knowingly and intentionally

distribute a mixture or substance containing a detectable amount of methamphetamine, a

Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(C).



          Case 6:05-cr-03124-MDH Document 1 Filed 09/22/05 Page 5 of 8
                                       COUNT TWELVE

       On or about June 20, 2005, in Greene County, in the Western District of Missouri,

BRANDI SUE CLARK (a/k/a, Brandi German) and JEREMIE S. PALAN, defendants, aided and

abetted by each other, did knowingly and intentionally distribute in a mixture or substance

containing a detectable amount of methamphetamine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C) and Title 18,

United States Code, Section 2.

                                      COUNT THIRTEEN

       On or about March 6, 2005, in Greene County, in the Western District of Missouri,

BRANDI SUE CLARK (a/k/a, Brandi German), defendant, did knowingly and intentionally

possess with intent to distribute a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(1) and 841(b)(1)(C).

                                     COUNT FOURTEEN

       On or about March 6, 2005, in Greene County, in the Western District of Missouri,

MICHAEL D. CAUDLE and JEREMIE S. PALAN, defendants, aided and abetted by each other,

did knowingly and intentionally possess with intent to distribute a mixture or substance

containing a detectable amount of methamphetamine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C) and Title 18,

United States Code, Section 2.

                                       COUNT FIFTEEN

       On or about September 14, 2004, in Greene County, in the Western District of Missouri,

DREW N. TURNER, defendant, did knowingly and intentionally distribute a mixture or



          Case 6:05-cr-03124-MDH Document 1 Filed 09/22/05 Page 6 of 8
substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

                                         COUNT SIXTEEN

       On or about September 20, 2004, in Greene County, in the Western District of Missouri,

DREW N. TURNER, defendant, did knowingly and intentionally distribute a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

                                      COUNT SEVENTEEN

       On or about September 21, 2004, in Greene County, in the Western District of Missouri,

DREW N. TURNER, defendant, did knowingly and intentionally distribute a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

                                        COUNT EIGHTEEN

       On or about April 25, 2005, in Greene County, in the Western District of Missouri,

DREW N. TURNER, defendant, did knowingly and intentionally possess with intent to distribute

in excess of 50 grams of methamphetamine, a Schedule II controlled substance, in violation of

Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B).

                                        COUNT NINETEEN

       On or about September 28, 2004, in Greene County, in the Western District of Missouri

and elsewhere, DREW N. TURNER, defendant, while using and addicted to methamphetamine,

a Schedule II controlled substance, did knowingly possess, in and affecting commerce, a firearm,

that is, a Hi-Point .45 caliber pistol, in violation of Title 18, United States Code, Sections

922(g)(3) and 924(a)(2).



          Case 6:05-cr-03124-MDH Document 1 Filed 09/22/05 Page 7 of 8
                                       COUNT TWENTY

       As a result of committing the controlled substance offense alleged in Count One of this

Indictment, defendants MICHAEL D. CAUDLE and JEREMIE S. PALAN shall forfeit to the

United States pursuant to Title 21, United States Code, Section 853, any and all property

constituting and derived from any proceeds the said defendants obtained directly and indirectly as

a result of the said violation and any and all property used and intended to be used in any manner

or part to commit and to facilitate the commission of the violation alleged in Count One of this

Indictment, including but not limited to the following:

       Approximately $3,600.00 in United States currency seized from the defendants on
       March 6, 2005,

all in violation of Title 21, United States Code, Sections 846, 841(a)(1), and 853.



                                              A TRUE BILL.


                                                 /s/
                                              FOREPERSON OF THE GRAND JURY


 /s/
KIMBERLY R. WEBER DEAN
TX Bar #24030672 and AR Bar #94207
Special Assistant United States Attorney




          Case 6:05-cr-03124-MDH Document 1 Filed 09/22/05 Page 8 of 8
